                                                                               CaseForm
                                                                   B6 Summary (Official 15-50743
                                                                                           6 - Summary) Doc
                                                                                                        (12/14)6               Filed 11/17/15 Entered 11/17/15 11:18:14                                      Desc Main
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                                                                                                                         United States Bankruptcy Court
                                                                                                              Western District of North Carolina, Wilkesboro Division

                                                                   IN RE:                                                                                                                Case No. 5:15-bk-50743
                                                                   Coppage, Noble B.                                                                                                     Chapter 13
                                                                                                                        Debtor(s)

                                                                                                                                 SUMMARY OF SCHEDULES
                                                                   Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                   provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                   determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                   a case under chapter 7, 11, or 13.

                                                                                                                               ATTACHED             NO. OF
                                                                    NAME OF SCHEDULE
                                                                                                                                (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                    A - Real Property                                               Yes                          1 $         204,260.00



                                                                    B - Personal Property                                           Yes                          3 $           13,675.00
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                                                                    C - Property Claimed as Exempt                                  Yes                          1



                                                                    D - Creditors Holding Secured Claims                            Yes                          1                           $        167,075.00


                                                                    E - Creditors Holding Unsecured Priority
                                                                                                                                    Yes                          2                           $          26,700.00
                                                                        Claims (Total of Claims on Schedule E)

                                                                    F - Creditors Holding Unsecured
                                                                                                                                    Yes                          1                           $                 0.00
                                                                        Nonpriority Claims

                                                                    G - Executory Contracts and Unexpired
                                                                                                                                    Yes                          1
                                                                        Leases


                                                                    H - Codebtors                                                   Yes                          1


                                                                    I - Current Income of Individual
                                                                                                                                    Yes                          2                                                     $           2,919.60
                                                                        Debtor(s)

                                                                    J - Current Expenditures of Individual
                                                                                                                                    Yes                          3                                                     $             719.91
                                                                        Debtor(s)


                                                                                                                                    TOTAL                      16 $          217,935.00 $             193,775.00
                                                                               Case Form
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                                                                                                                United States Bankruptcy Court
                                                                                                     Western District of North Carolina, Wilkesboro Division

                                                                   IN RE:                                                                                       Case No. 5:15-bk-50743
                                                                   Coppage, Noble B.                                                                            Chapter 13
                                                                                                             Debtor(s)

                                                                           STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                            If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
                                                                   U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                              Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
                                                                   any information here.

                                                                   This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                   Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                    Type of Liability                                                                                        Amount

                                                                    Domestic Support Obligations (from Schedule E)                                                    $           0.00
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                                                                    Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $      26,700.00

                                                                    Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                    disputed or undisputed)                                                                           $           0.00

                                                                    Student Loan Obligations (from Schedule F)                                                        $           0.00

                                                                    Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                    Schedule E                                                                                        $           0.00

                                                                    Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $           0.00

                                                                                                                                                           TOTAL      $      26,700.00


                                                                    State the following:

                                                                    Average Income (from Schedule I, Line 12)                                                         $       2,919.60

                                                                    Average Expenses (from Schedule J, Line 22)                                                       $        719.91

                                                                    Current Monthly Income (from Form 22A-1 Line 11; OR, Form 22B Line 14; OR, Form 22C-1
                                                                    Line 14 )                                                                                         $       3,600.00


                                                                    State the following:

                                                                    1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                         $          0.00

                                                                    2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $      26,700.00

                                                                    3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                           $          0.00

                                                                    4. Total from Schedule F                                                                                             $          0.00

                                                                    5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         $          0.00
                                                                                 Case
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                                                                   IN RE Coppage, Noble B.                                                                                                 Case No. 5:15-bk-50743
                                                                                                                              Debtor(s)                                                                                                    (If known)

                                                                                                                              SCHEDULE A - REAL PROPERTY
                                                                      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                   property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                   married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                   or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                     Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                   interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                     If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                                                                              OR COMMUNITY
                                                                                                                                                                                                                     CURRENT VALUE OF
                                                                                                                                                                                                                    DEBTOR'S INTEREST IN
                                                                                                                                                                 NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                           DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                     SECURED CLAIM OR
                                                                                                                                                                                                                         EXEMPTION



                                                                   1984 Fleetwood mobile home on 156.29 acres, Lien held by                                  Fee Simple                                                    204,260.00               167,075.00
                                                                   Suntrust, tax value for all land is 204,260
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                                                                                                                                                                                    TOTAL                                  204,260.00
                                                                                                                                                                                                                   (Report also on Summary of Schedules)
                                                                                  Case
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                                                                   IN RE Coppage, Noble B.                                                                                                Case No. 5:15-bk-50743
                                                                                                                              Debtor(s)                                                                                             (If known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                      Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                   appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                   and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                   “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                   in Schedule C - Property Claimed as Exempt.

                                                                     Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                     If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                   held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                   not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                                            CURRENT VALUE OF
                                                                                                                     N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                                                      PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                                        DEDUCTING ANY
                                                                                                                     E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                EXEMPTION




                                                                      1. Cash on hand.                                   Cash on hand                                                                                                                    50.00
                                                                      2. Checking, savings or other financial            Checking account - State Employees Credit Union                                                                             6,000.00
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                                                                         accounts, certificates of deposit or            Savings account - State Employees Credit Union                                                                                  50.00
                                                                         shares in banks, savings and loan,
                                                                         thrift, building and loan, and
                                                                         homestead associations, or credit
                                                                         unions, brokerage houses, or
                                                                         cooperatives.
                                                                      3. Security deposits with public utilities,    X
                                                                         telephone companies, landlords, and
                                                                         others.
                                                                      4. Household goods and furnishings,                Bedroom furniture, bed, dresser, nighstand, mirror                                                                            250.00
                                                                         include audio, video, and computer              Electronics, television, dvr                                                                                                  250.00
                                                                         equipment.
                                                                                                                         Kitchen appliances, oven, refrigerator, dishwasher, microwave                                                                 150.00
                                                                                                                         Kitchen utensils, pots, pans, dishes, eating utensils, cooking                                                                100.00
                                                                                                                         utensils
                                                                                                                         Lamps, accessories, bedding, linens                                                                                             25.00
                                                                                                                         Living room furniture, sofa, loveseat, chair, coffee table                                                                    200.00
                                                                                                                         Washer, dryer                                                                                                                 150.00
                                                                      5. Books, pictures and other art objects,      X
                                                                         antiques, stamp, coin, record, tape,
                                                                         compact disc, and other collections or
                                                                         collectibles.
                                                                      6. Wearing apparel.                                Debtor(s) personal clothing                                                                                                   450.00
                                                                      7. Furs and jewelry.                           X
                                                                      8. Firearms and sports, photographic,              30.06 firearm                                                                                                                 200.00
                                                                         and other hobby equipment.
                                                                      9. Interest in insurance policies. Name        X
                                                                         insurance company of each policy and
                                                                         itemize surrender or refund value of
                                                                         each.
                                                                    10. Annuities. Itemize and name each             X
                                                                        issue.
                                                                    11. Interests in an education IRA as             X
                                                                        defined in 26 U.S.C. § 530(b)(1) or
                                                                        under a qualified State tuition plan as
                                                                        defined in 26 U.S.C. § 529(b)(1).
                                                                        Give particulars. (File separately the
                                                                        record(s) of any such interest(s). 11
                                                                        U.S.C. § 521(c).)
                                                                                  Case
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                                                                   IN RE Coppage, Noble B.                                                                                      Case No. 5:15-bk-50743
                                                                                                                           Debtor(s)                                                                             (If known)

                                                                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                                                               (Continuation Sheet)




                                                                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                                                                         CURRENT VALUE OF
                                                                                                                    N                                                                                                   DEBTOR'S INTEREST IN
                                                                                                                    O                                                                                                    PROPERTY WITHOUT
                                                                                 TYPE OF PROPERTY                                        DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                    N                                                                                                      DEDUCTING ANY
                                                                                                                    E                                                                                                    SECURED CLAIM OR
                                                                                                                                                                                                                             EXEMPTION




                                                                    12. Interests in IRA, ERISA, Keogh, or              401(k) Retirement plan through Wells                                                                      3,000.00
                                                                        other pension or profit sharing plans.          Fargo with AIG
                                                                        Give particulars.
                                                                    13. Stock and interests in incorporated         X
                                                                        and unincorporated businesses.
                                                                        Itemize.
                                                                    14. Interests in partnerships or joint          X
                                                                        ventures. Itemize.
                                                                    15. Government and corporate bonds and          X
                                                                        other negotiable and non-negotiable
                                                                        instruments.
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                                                                    16. Accounts receivable.                        X
                                                                    17. Alimony, maintenance, support, and          X
                                                                        property settlements in which the
                                                                        debtor is or may be entitled. Give
                                                                        particulars.
                                                                    18. Other liquidated debts owed to debtor       X
                                                                        including tax refunds. Give
                                                                        particulars.
                                                                    19. Equitable or future interest, life          X
                                                                        estates, and rights or powers
                                                                        exercisable for the benefit of the
                                                                        debtor other than those listed in
                                                                        Schedule A - Real Property.
                                                                    20. Contingent and noncontingent                X
                                                                        interests in estate of a decedent, death
                                                                        benefit plan, life insurance policy, or
                                                                        trust.
                                                                    21. Other contingent and unliquidated           X
                                                                        claims of every nature, including tax
                                                                        refunds, counterclaims of the debtor,
                                                                        and rights to setoff claims. Give
                                                                        estimated value of each.
                                                                    22. Patents, copyrights, and other              X
                                                                        intellectual property. Give particulars.
                                                                    23. Licenses, franchises, and other             X
                                                                        general intangibles. Give particulars.
                                                                    24. Customer lists or other compilations        X
                                                                        containing personally identifiable
                                                                        information (as defined in 11 U.S.C. §
                                                                        101(41A)) provided to the debtor by
                                                                        individuals in connection with
                                                                        obtaining a product or service from
                                                                        the debtor primarily for personal,
                                                                        family, or household purposes.
                                                                    25. Automobiles, trucks, trailers, and              1984 Ford Ranger truck with over 99,000 miles,                                                              500.00
                                                                        other vehicles and accessories.                 1985 Ford F-350 with over 100,000 miles                                                                     500.00
                                                                                                                        1986 Ford F-250 with over 95,000 miles                                                                      800.00
                                                                    26. Boats, motors, and accessories.             X
                                                                    27. Aircraft and accessories.                   X
                                                                    28. Office equipment, furnishings, and          X
                                                                        supplies.
                                                                                  Case
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                                                                   IN RE Coppage, Noble B.                                                                                Case No. 5:15-bk-50743
                                                                                                                      Debtor(s)                                                                                 (If known)

                                                                                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                                                          (Continuation Sheet)




                                                                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                  OR COMMUNITY
                                                                                                                                                                                                                        CURRENT VALUE OF
                                                                                                               N                                                                                                       DEBTOR'S INTEREST IN
                                                                                                               O                                                                                                        PROPERTY WITHOUT
                                                                                TYPE OF PROPERTY                                   DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                               N                                                                                                          DEDUCTING ANY
                                                                                                               E                                                                                                        SECURED CLAIM OR
                                                                                                                                                                                                                            EXEMPTION




                                                                    29. Machinery, fixtures, equipment, and    X
                                                                        supplies used in business.
                                                                    30. Inventory.                             X
                                                                    31. Animals.                                   Horse                                                                                                           500.00
                                                                    32. Crops - growing or harvested. Give     X
                                                                        particulars.
                                                                    33. Farming equipment and implements.      X
                                                                    34. Farm supplies, chemicals, and feed.    X
                                                                    35. Other personal property of any kind        2002 Bison Horse Trailer                                                                                        500.00
                                                                        not already listed. Itemize.
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                                                                                                                                                                                         TOTAL                                 13,675.00
                                                                                                                                                                    (Include amounts from any continuation sheets attached.
                                                                           0 continuation sheets attached                                                                      Report total also on Summary of Schedules.)
                                                                                 Case
                                                                   B6C (Official Form 6C) 15-50743
                                                                                          (04/13)                Doc 6         Filed 11/17/15 Entered 11/17/15 11:18:14                                Desc Main
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                                                                   IN RE Coppage, Noble B.                                                                                          Case No. 5:15-bk-50743
                                                                                                                             Debtor(s)                                                                          (If known)

                                                                                                               SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                   Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
                                                                   (Check one box)
                                                                         11 U.S.C. § 522(b)(2)
                                                                         11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                    CURRENT VALUE
                                                                                                                                                                                          VALUE OF CLAIMED           OF PROPERTY
                                                                                     DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                             EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                     EXEMPTIONS

                                                                   SCHEDULE A - REAL PROPERTY
                                                                   1984 Fleetwood mobile home on 156.29                         G.S. § 1C-1601(a)(1)                                              35,000.00              204,260.00
                                                                   acres, Lien held by Suntrust, tax value for
                                                                   all land is 204,260
                                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                   Checking account - State Employees Credit G.S. § 1C-1601(a)(2)                                                                   4,950.00                 6,000.00
                                                                   Union
                                                                   Savings account - State Employees Credit                     G.S. § 1C-1601(a)(2)                                                    50.00                     50.00
                                                                   Union
                                                                   Bedroom furniture, bed, dresser,                             G.S. § 1C-1601(a)(4)                                                  250.00                     250.00
                                                                   nighstand, mirror
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                                                                   Electronics, television, dvr                                 G.S. § 1C-1601(a)(4)                                                  250.00                     250.00
                                                                   Kitchen appliances, oven, refrigerator,                      G.S. § 1C-1601(a)(4)                                                  150.00                     150.00
                                                                   dishwasher, microwave
                                                                   Kitchen utensils, pots, pans, dishes, eating G.S. § 1C-1601(a)(4)                                                                  100.00                     100.00
                                                                   utensils, cooking utensils
                                                                   Lamps, accessories, bedding, linens                          G.S. § 1C-1601(a)(4)                                                    25.00                     25.00
                                                                   Living room furniture, sofa, loveseat, chair, G.S. § 1C-1601(a)(4)                                                                 200.00                     200.00
                                                                   coffee table
                                                                   Washer, dryer                                                G.S. § 1C-1601(a)(4)                                                  150.00                     150.00
                                                                   Debtor(s) personal clothing                                  G.S. § 1C-1601(a)(4)                                                  450.00                     450.00
                                                                   30.06 firearm                                                G.S. § 1C-1601(a)(4)                                                  200.00                     200.00
                                                                   401(k) Retirement plan through Wells                         G.S. § 1C-1601(a)(9)                                                3,000.00                 3,000.00
                                                                   Fargo with AIG
                                                                   1984 Ford Ranger truck with over 99,000                      G.S. § 1C-1601(a)(3)                                                  500.00                     500.00
                                                                   miles,




                                                                   * Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                 Case
                                                                   B6G (Official Form 6G)15-50743
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                                                                   IN RE Coppage, Noble B.                                                                                                   Case No. 5:15-bk-50743
                                                                                                                               Debtor(s)                                                                                  (If known)

                                                                                                SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                   contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                   lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                   such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                   DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                      NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                       STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                         OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                         STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                 Case
                                                                   B6H (Official Form 6H)15-50743
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                                                                   IN RE Coppage, Noble B.                                                                                                    Case No. 5:15-bk-50743
                                                                                                                                Debtor(s)                                                                                   (If known)

                                                                                                                                   SCHEDULE H - CODEBTORS
                                                                      Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                   of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                   California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                   of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                   territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                   a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                   name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Check this box if debtor has no codebtors.

                                                                                              NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
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                                                                                      Case 15-50743                Doc 6         Filed 11/17/15 Entered 11/17/15 11:18:14                                    Desc Main
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                                                                    Fill in this information to identify your case:


                                                                    Debtor 1          Noble
                                                                                      ___ ____ B. Coppage
                                                                                               _____ _______ ____ _____ ______ ____ ____________ ____ ______ ____ ____
                                                                                        F irst Name                Middle Name                Last Name

                                                                    Debtor 2            ___ ____ _____ _______ ____ _____ ______ _________ _______ ____ _____ _____ __
                                                                    (Spouse, if filing) F irst Name                Middle Name                Last Name


                                                                    United States Bankruptcy Court for the: Western District of North Carolina, Wilkesboro Division

                                                                    Case num ber        5:15-bk-50743
                                                                                        ___ ____ _____ ______ _____ _____ ______ ____ _____                                       Check if this is:
                                                                        (If known)
                                                                                                                                                                                     An amended filing
                                                                                                                                                                                     A supplement showing post-petition
                                                                                                                                                                                     chapter 13 income as of the following date:
                                                                                                                                                                                     ________________
                                                                   Official Form 6I                                                                                                  MM / DD / YYYY


                                                                   Schedule I: Your Income                                                                                                                                           12/13
                                                                   Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                   supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                   If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                   separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                    Part 1:           Describe Employment
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                                                                   1.    Fill in your employment
                                                                         information.                                                              Debtor 1                                          Debtor 2 or non-filing spouse

                                                                          If you have more than one job,
                                                                          attach a separate page with
                                                                          information about additional          Employment status                    Employed                                           Employed
                                                                          employers.                                                                 Not employed                                       Not employed
                                                                          Include part-time, seasonal, or
                                                                          self-employed work.
                                                                                                                Occupation                     truck driver
                                                                                                                                               __________________________________                __________________________________
                                                                          Occupation may Include student
                                                                          or homemaker, if it applies.
                                                                                                                Employer’s name                Ramb Trucking ________________
                                                                                                                                               __________________                                __________________________________


                                                                                                                Employer’s address            1153
                                                                                                                                              __ ____Barneys   Pl ____ _____ ______ ____ __
                                                                                                                                                     _______ _____                              ___ _______ ____ _____ __________ _____ ______
                                                                                                                                                Number    Street                                  Number     Street

                                                                                                                                              __ ____ _____ ______ _____ _____ ______ ____ __   ___ _______ __ ______ _____ _______ ____ _____ _

                                                                                                                                              ____ _____ ____ _______ ____ _____ ______ ____    _____ _____ _____ ______ ____ _____ ______ ____

                                                                                                                                              Lenoir,
                                                                                                                                              __         NC______
                                                                                                                                                 ____ _____  28645-8007
                                                                                                                                                                  _____ _____ ______ ____ __    _____ _____ ______ _____ ____ _____ ______ ____
                                                                                                                                                Cit y             State   ZIP Code                City                    State ZIP Code

                                                                                                                How long employed there?            5_______
                                                                                                                                                      months                                      _______

                                                                    Part 2:           Give Details About Monthly Income

                                                                          Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                          spouse unless you are separated.
                                                                          If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                          below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                             For Debtor 1         For Debtor 2 or
                                                                                                                                                                                                  non-filing spouse
                                                                    2.     List monthly gross wages, salary, and commissions (before all payroll
                                                                           deductions). If not paid monthly, calculate what the monthly wage would be.                2.
                                                                                                                                                                               3,600.00
                                                                                                                                                                            $___________             $____________

                                                                    3.     Estimate and list monthly overtime pay.                                                    3.   + $___________
                                                                                                                                                                                  0.00           +   $____________


                                                                    4.     Calculate gross income. Add line 2 + line 3.                                               4.       3,600.00
                                                                                                                                                                            $__________              $____________



                                                                   Official Form 6I                                                       Schedule I: Your Income                                                                page 1
                                                                                       Case 15-50743                         Doc 6             Filed 11/17/15 Entered 11/17/15 11:18:14                                             Desc Main
                                                                                                                                                Document     Page 11 of 33
                                                                   Debtor 1             Noble
                                                                                       ___      B.____
                                                                                           _______ Coppage
                                                                                                       _____ ______ _____ ____ _______ ____ _____ _____                                          Case numb er          5:15-bk-50743
                                                                                                                                                                                                                (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                       First Name          Middle Name                Last Name



                                                                                                                                                                                                For Debtor 1            For Debtor 2 or
                                                                                                                                                                                                                        non-filing spouse

                                                                         Copy line 4 here ............................................................................................   4.          3,600.00
                                                                                                                                                                                                 $___________               $_____________

                                                                   5.    List all payroll deductions:

                                                                          5a. Tax, Medicare, and Social Security deductions                                                              5a.          680.40
                                                                                                                                                                                                $____________              $_____________
                                                                          5b. Mandatory contributions for retirement plans                                                               5b.            0.00
                                                                                                                                                                                                $____________              $_____________
                                                                          5c. Voluntary contributions for retirement plans                                                               5c.            0.00
                                                                                                                                                                                                $____________              $_____________
                                                                          5d. Required repayments of retirement fund loans                                                               5d.            0.00
                                                                                                                                                                                                $____________              $_____________
                                                                          5e. Insurance                                                                                                  5e.            0.00
                                                                                                                                                                                                $____________              $_____________
                                                                          5f. Domestic support obligations                                                                               5f.            0.00
                                                                                                                                                                                                $____________              $_____________

                                                                          5g. Union dues                                                                                                 5g.            0.00
                                                                                                                                                                                                $____________              $_____________

                                                                          5h. Other deductions. Specify: __________________________________                                              5h.   + $____________
                                                                                                                                                                                                         0.00          +   $_____________

                                                                    6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.            680.40
                                                                                                                                                                                                $____________              $_____________

                                                                    7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.          2,919.60
                                                                                                                                                                                                $____________              $_____________
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                                                                    8.   List all other income regularly received:
                                                                          8a. Net income from rental property and from operating a business,
                                                                              profession, or farm
                                                                              Attach a statement for each property and business showing gross
                                                                              receipts, ordinary and necessary business expenses, and the total
                                                                                                                                                                                                        0.00
                                                                                                                                                                                                $____________              $_____________
                                                                              monthly net income.                                                                                        8a.
                                                                           8b. Interest and dividends                                                                                    8b.            0.00
                                                                                                                                                                                                $____________              $_____________
                                                                          8c. Family support payments that you, a non-filing spouse, or a dependent
                                                                              regularly receive
                                                                              Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                                                                                        0.00
                                                                                                                                                                                                $____________              $_____________
                                                                              settlement, and property settlement.                                  8c.
                                                                          8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                                                                                                $____________              $_____________
                                                                          8e. Social Security                                                                                            8e.            0.00
                                                                                                                                                                                                $____________              $_____________
                                                                           8f. Other government assistance that you regularly receive
                                                                               Include cash assistance and the value (if known) of any non-cash assistance
                                                                               that you receive, such as food stamps (benefits under the Supplemental                                                   0.00
                                                                                                                                                                                                $____________              $_____________
                                                                               Nutrition Assistance Program) or housing subsidies.
                                                                               Specify: ___________________________________________________ 8f.

                                                                           8g. Pension or retirement income                                                                              8g.            0.00
                                                                                                                                                                                                $____________              $_____________

                                                                           8h. Other monthly income. Specify: _______________________________                                            8h.   + $____________
                                                                                                                                                                                                         0.00            + $_____________
                                                                    9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.            0.00
                                                                                                                                                                                                $____________              $_____________

                                                                   10. Calculate  monthly income. Add line 7 + line 9.
                                                                         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.
                                                                                                                                                                                                    2,919.60
                                                                                                                                                                                                $___________       +        $_____________ = $_____________
                                                                                                                                                                                                                                                  2,919.60

                                                                   11.   State all other regular contributions to the expenses that you list in Schedule J.
                                                                         Include contributions from an unmarried partner, members of your household, your dependents , your roommates, and
                                                                         other friends or relatives.
                                                                         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
                                                                         Specify: _______________________________________________________________________________                                                                            11. + $_____________
                                                                                                                                                                                                                                                           0.00
                                                                   12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                        12.        2,919.60
                                                                                                                                                                                                                                                     $_____________
                                                                                                                                                                                                                                                     Combined
                                                                                                                                                                                                                                                     monthly income
                                                                    13. Do     you expect an increase or decrease within the year after you file this form?
                                                                               No.
                                                                                              None
                                                                               Yes. Explain:


                                                                     Official Form 6I                                                                      Schedule I: Your Income                                                                       page 2
                                                                                         Case 15-50743                Doc 6          Filed 11/17/15 Entered 11/17/15 11:18:14                                   Desc Main
                                                                                                                                      Document     Page 12 of 33
                                                                        Fill in this information to identify your case:

                                                                        Debtor 1           Noble
                                                                                          ___       B.____
                                                                                              _______  Coppage
                                                                                                           _____ ____ _____ ______ ____ _______ _____ ____ _______ ____ _
                                                                                           First Name                  Middle Name                Last Name                         Check if this is:
                                                                        Debtor 2           ___ ____ _____ _______ ____ _____ ______ _______ ____ _____ ____ _______ ___
                                                                        (Spouse, if filing) First Name                 Middle Name                Last Name
                                                                                                                                                                                        An amended filing
                                                                                                                                                                                        A supplement showing post-petition chapter 13
                                                                        United Sta tes Bankruptcy Court for th e: Western District of North Carolina, Wilkesboro Division               expenses as of the following date:
                                                                                                                                                                                        ________________
                                                                        Case num ber        5:15-bk-50743
                                                                                           ___ ____ _____ ______ _____ _____ ______ _______ __                                          MM / DD / YYYY
                                                                         (If known)
                                                                                                                                                                                        A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                        maintains a separate household
                                                                   Official Form 6J
                                                                   Schedule J: Your Expenses                                                                                                                                        12/13

                                                                   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                   information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                   (if known). Answer every question.

                                                                    Part 1:               Describe Your Household

                                                                   1.    Is this a joint case?

                                                                              No. Go to line 2.
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                                                                              Yes. Does Debtor 2 live in a separate household?

                                                                                           No
                                                                                           Yes. Debtor 2 must file a separate Schedule J.

                                                                   2.    Do you have dependents?                         No                                     Dependent’s relations hip to              De pendent’s   Does d epe ndent live
                                                                         Do not list Debtor 1 and                        Yes. Fill out this information for Debtor 1 or Debtor 2                          age            with you?
                                                                         Debtor 2.                                       each dependent..........................
                                                                                                                                                                                                                             No
                                                                         Do not state the dependents’                                                           _________________________                 ________
                                                                         names.                                                                                                                                              Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                   3.    Do your expenses include
                                                                                                                         No
                                                                         expenses of people other than
                                                                         yourself and your dependents?                   Yes

                                                                   Part 2:            Estimate Your Ongoing Monthly Expenses

                                                                   Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                   expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                   applicable date.
                                                                   Include expenses paid for with non-cash government assistance if you know the value of
                                                                   such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                       Your expenses

                                                                    4.     The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                           any rent for the ground or lot.                                                                                          4.
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                            $_____________________

                                                                           If not included in line 4:
                                                                           4a.    Real estate taxes                                                                                                 4a.             0.00
                                                                                                                                                                                                            $_____________________
                                                                           4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.             0.00
                                                                                                                                                                                                            $_____________________
                                                                           4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.             0.00
                                                                                                                                                                                                            $_____________________

                                                                           4d.    Homeowner’s association or condominium dues                                                                       4d.             0.00
                                                                                                                                                                                                            $_____________________

                                                                        Official Form 6J                                                Schedule J: Your Expenses                                                              page 1
                                                                                        Case 15-50743                Doc 6         Filed 11/17/15 Entered 11/17/15 11:18:14                           Desc Main
                                                                                                                                    Document     Page 13 of 33
                                                                    Debtor 1            Noble
                                                                                        ___     B. ____
                                                                                            _______ Coppage
                                                                                                        _____ ______ _____ ____ _______ ____ _____ _____           Case numb er          5:15-bk-50743
                                                                                                                                                                                  (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                        First Name     Middle Name         Last Name




                                                                                                                                                                                                   Your expenses

                                                                                                                                                                                                  $_____________________
                                                                                                                                                                                                          0.00
                                                                    5.    Additional mortgage payments for your residence, such as home equity loans                                      5.


                                                                    6.    Utilities:
                                                                           6a.     Electricity, heat, natural gas                                                                         6a.            140.00
                                                                                                                                                                                                  $_____________________
                                                                           6b.     Water, sewer, garbage collection                                                                       6b.             0.00
                                                                                                                                                                                                  $_____________________
                                                                           6c.     Telephone, cell phone, Internet, satellite, and cable services                                         6c.            75.00
                                                                                                                                                                                                  $_____________________

                                                                           6d.     Other. Specify: _______________________________________________                                        6d.             0.00
                                                                                                                                                                                                  $_____________________

                                                                    7.    Food and housekeeping supplies                                                                                  7.             200.00
                                                                                                                                                                                                  $_____________________

                                                                    8.    Childcare and children’s education costs                                                                        8.              0.00
                                                                                                                                                                                                  $_____________________
                                                                    9.    Clothing, laundry, and dry cleaning                                                                             9.             10.00
                                                                                                                                                                                                  $_____________________
                                                                   10.    Personal care products and services                                                                             10.            15.00
                                                                                                                                                                                                  $_____________________
                                                                   11.    Medical and dental expenses                                                                                     11.            25.00
                                                                                                                                                                                                  $_____________________
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                                                                   12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                                                                         150.00
                                                                                                                                                                                                  $_____________________
                                                                          Do not include car payments.                                                                                    12.

                                                                   13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.             0.00
                                                                                                                                                                                                  $_____________________
                                                                   14.     Charitable contributions and religious donations                                                               14.            50.00
                                                                                                                                                                                                  $_____________________

                                                                   15.     Insurance.
                                                                           Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                           15a .   Life insurance                                                                                         15a .           0.00
                                                                                                                                                                                                  $_____________________
                                                                           15b .   Health insurance                                                                                       15b .           0.00
                                                                                                                                                                                                  $_____________________
                                                                           15c.    Vehicle insurance                                                                                      15c.           54.91
                                                                                                                                                                                                  $_____________________
                                                                           15d .   Other insurance. Specify:_______________________________________                                       15d .           0.00
                                                                                                                                                                                                  $_____________________

                                                                   16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                  $_____________________
                                                                           Specify: ________________________________________________________                                              16.


                                                                   17.    Installment or lease payments:

                                                                           17a .   Car payments for Vehicle 1                                                                             17a.            0.00
                                                                                                                                                                                                  $_____________________

                                                                           17b .   Car payments for Vehicle 2                                                                             17b .           0.00
                                                                                                                                                                                                  $_____________________

                                                                           17 c.   Other. Specify:_________________________________
                                                                                                                                  ______________                                          17c.            0.00
                                                                                                                                                                                                  $_____________________

                                                                           17 d.   Other. Specify:_________________________________
                                                                                                                                  ______________                                          17d .           0.00
                                                                                                                                                                                                  $_____________________

                                                                   18.    Your payments of alimony, maintenance, and support that you did not report as deducted from                                     0.00
                                                                                                                                                                                                  $_____________________
                                                                          your pay on line 5, Schedule I, Your Income (Official Form 6I).                                                  18.


                                                                   19.    Other payments you make to support others who do not live with you.                                                             0.00
                                                                                                                                                                                                  $_____________________
                                                                          Specify:_______________________________________________________                                                  19.

                                                                   20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

                                                                           20a .   Mortgages on other property                                                                           20 a.            0.00
                                                                                                                                                                                                  $_____________________

                                                                           20b .   Real estate taxes                                                                                     20b .            0.00
                                                                                                                                                                                                  $_____________________

                                                                           20c.    Property, homeowner’s, or renter’s insurance                                                          20c.             0.00
                                                                                                                                                                                                  $_____________________

                                                                           20d .   Maintenance, repair, and upkeep expenses                                                              20d .            0.00
                                                                                                                                                                                                  $_____________________

                                                                           20e .   Homeowner’s association or condominium dues                                                           20e .            0.00
                                                                                                                                                                                                  $_____________________



                                                                         Official Form 6J                                              Schedule J: Your Expenses                                                           page 2
                                                                   0.00
                                                                                      Case 15-50743               Doc 6          Filed 11/17/15 Entered 11/17/15 11:18:14                             Desc Main
                                                                                                                                  Document     Page 14 of 33
                                                                     Debtor 1          Noble
                                                                                      ___      B.____
                                                                                          _______ Coppage
                                                                                                      _____ ______ _____ ____ _______ ____ _____ _____             Case numb er          5:15-bk-50743
                                                                                                                                                                                  (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                      First Name    Middle Name          Last Name




                                                                    21.     Other. Specify: _________________________________________________                                            21 .            0.00
                                                                                                                                                                                                +$_____________________

                                                                    22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                                                                                                         719.91
                                                                                                                                                                                                  $_____________________
                                                                           The result is your monthly expenses.                                                                          22 .




                                                                    23.   Calculate your monthly net income.
                                                                                                                                                                                                        2,919.60
                                                                                                                                                                                                   $_____________________
                                                                          23a.   Copy line 12 (your combined monthly income) from Schedule I.                                           23a.

                                                                          23b.   Copy your monthly expenses from line 22 above.                                                         23b .   – $_____________________
                                                                                                                                                                                                         719.91

                                                                          23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                                                                                        2,199.69
                                                                                                                                                                                                   $_____________________
                                                                                 The result is your monthly net income.                                                                 23c.




                                                                    24.    Do you expect an increase or decrease in your expenses within the year after you file this form?
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                                                                           For example, do you expect to finish paying for your car loan within the year or do you expect your
                                                                           mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

                                                                              No.
                                                                              Yes.    None




                                                                          Official Form 6J                                           Schedule J: Your Expenses                                                             page 3
                                                                   B6 DeclarationCase
                                                                                 (Official15-50743          Doc(12/07)
                                                                                          Form 6 - Declaration)   6            Filed 11/17/15 Entered 11/17/15 11:18:14                                        Desc Main
                                                                                                                                Document     Page 15 of 33
                                                                   IN RE Coppage, Noble B.                                                                                             Case No. 5:15-bk-50743
                                                                                                                             Debtor(s)                                                                                    (If known)

                                                                                                           DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                   I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      18 sheets, and that they are
                                                                   true and correct to the best of my knowledge, information, and belief.


                                                                   Date: November 17, 2015                              Signature: /s/ Noble B. Coppage
                                                                                                                                                                                                                                                     Debtor
                                                                                                                                     Noble B. Coppage

                                                                   Date:                                                Signature:
                                                                                                                                                                                                                                       (Joint Debtor, if any)
                                                                                                                                                                                             [If joint case, both spouses must sign.]

                                                                                 DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                   I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                   compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                   and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                   bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                   any fee from the debtor, as required by that section.
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                                                                   Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                   If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                   responsible person, or partner who signs the document.



                                                                   Address




                                                                   Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                   Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                   is not an individual:


                                                                   If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                   A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                   imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                   DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                   I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                   member or an authorized agent of the partnership) of the
                                                                   (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                   schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                   knowledge, information, and belief.



                                                                   Date:                                                Signature:


                                                                                                                                                                                               (Print or type name of individual signing on behalf of debtor)

                                                                                 [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                            Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                  Case
                                                                   B7 (Official Form      15-50743
                                                                                     7) (04/13)               Doc 6        Filed 11/17/15 Entered 11/17/15 11:18:14                                Desc Main
                                                                                                                            Document     Page 16 of 33
                                                                                                                      United States Bankruptcy Court
                                                                                                           Western District of North Carolina, Wilkesboro Division

                                                                   IN RE:                                                                                                       Case No. 5:15-bk-50743
                                                                   Coppage, Noble B.                                                                                            Chapter 13
                                                                                                                    Debtor(s)

                                                                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                      This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                   is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                   is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                   farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                   personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
                                                                   guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                   25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                   use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                           DEFINITIONS

                                                                     "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                   for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
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                                                                   an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
                                                                   partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                   form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                     "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                   which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
                                                                   affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

                                                                   1. Income from employment or operation of business
                                                                    None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                           including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                           case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                           maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                           beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                           under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                           joint petition is not filed.)
                                                                               AMOUNT SOURCE
                                                                               36,000.00 2015 Ramb to gate
                                                                               25,507.00 2014 Gaines
                                                                                3,418.64 2013 Gaines

                                                                   2. Income other than from employment or operation of business
                                                                    None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                           two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                           separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                           the spouses are separated and a joint petition is not filed.)
                                                                               AMOUNT SOURCE
                                                                               65,500.00 Timber sales 2014
                                                                                6,000.00 2015 Timber sales
                                                                                  Case 15-50743               Doc 6        Filed 11/17/15 Entered 11/17/15 11:18:14                                Desc Main
                                                                                                                            Document     Page 17 of 33
                                                                   3. Payments to creditors
                                                                   Complete a. or b., as appropriate, and c.
                                                                    None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                           debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                           constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                           a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                           counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                           petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                    None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                           preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                           $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                           obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                           debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                           is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                           * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                    None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                           who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                           a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                    None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
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                                                                           bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                           not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                   CAPTION OF SUIT                                                                      COURT OR AGENCY                            STATUS OR
                                                                   AND CASE NUMBER                            NATURE OF PROCEEDING                      AND LOCATION                               DISPOSITION
                                                                   In Re Foreclosure of Noble B.              Foreclosure proceeding                    Superior Court of Caldwell                 Sale Date 10/27/2015
                                                                   Coppage 13SP545                                                                      County, NC

                                                                                                                                                        ,
                                                                    None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                           the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                           or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   5. Repossessions, foreclosures and returns
                                                                    None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                           the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                           include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                           joint petition is not filed.)

                                                                   6. Assignments and receiverships
                                                                    None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                           (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                           unless the spouses are separated and joint petition is not filed.)

                                                                    None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                           commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                           spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   7. Gifts
                                                                    None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                           gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                           per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                           a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                   NAME AND ADDRESS OF PERSON                                       RELATIONSHIP TO                                    DESCRIPTION AND
                                                                   OR ORGANIZATION                                                  DEBTOR, IF ANY                     DATE OF GIFT    VALUE OF GIFT
                                                                   Beaver Creek Advent Christian Church                             Church                             Ongoing monthly Ongoing tithes $50.00
                                                                   11665 W NC Highway 268                                                                                              monthly
                                                                   Ferguson, NC 28624-9031                                                                                             $600.00
                                                                                  Case 15-50743               Doc 6         Filed 11/17/15 Entered 11/17/15 11:18:14                                Desc Main
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                                                                   8. Losses
                                                                    None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                           commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                           a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   9. Payments related to debt counseling or bankruptcy
                                                                    None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                           consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                           of this case.
                                                                                                                                     DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                   NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                               AND VALUE OF PROPERTY
                                                                   Willcox Law Firm, PLLC                                            11/02/2015                                      $500 attorney fees; $310 filing fees;
                                                                   PO Box 442                                                                                                                                 $40 costs;
                                                                   Morganton, NC 28680

                                                                   10. Other transfers
                                                                    None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                           absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                           chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                           petition is not filed.)
                                                                   NAME AND ADDRESS OF TRANSFEREE,                                                                                  DESCRIBE PROPERTY TRANSFERRED
                                                                   RELATIONSHIP TO DEBTOR                                            DATE                                           AND VALUE RECEIVED
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                                                                   Theodore Clark III                                                11-10-2014                                     1999 Freightliner- sale price 36,000.
                                                                   None

                                                                    None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                           device of which the debtor is a beneficiary.

                                                                   11. Closed financial accounts
                                                                    None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                           transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                           certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                           brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                           accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                           petition is not filed.)

                                                                   12. Safe deposit boxes
                                                                    None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                           preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                           both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   13. Setoffs
                                                                    None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                           case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                           petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   14. Property held for another person
                                                                    None   List all property owned by another person that the debtor holds or controls.


                                                                   15. Prior address of debtor
                                                                    None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                           that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                   16. Spouses and Former Spouses
                                                                    None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                           Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                           identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.
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                                                                   17. Environmental Information
                                                                   For the purpose of this question, the following definitions apply:
                                                                   “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                   wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                   the cleanup of these substances, wastes or material.
                                                                   “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                   debtor, including, but not limited to, disposal sites.
                                                                   “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                   or similar term under an Environmental Law.

                                                                    None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                           potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                           Environmental Law.

                                                                    None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                           the governmental unit to which the notice was sent and the date of the notice.

                                                                    None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                           is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                   18. Nature, location and name of business
                                                                    None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
                                                                           of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
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                                                                           proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                           commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                           preceding the commencement of this case.
                                                                           If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                           of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                           preceding the commencement of this case.
                                                                           If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                           of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                           preceding the commencement of this case.
                                                                    None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.



                                                                   [If completed by an individual or individual and spouse]

                                                                   I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                   thereto and that they are true and correct.



                                                                   Date: November 17, 2015                          Signature /s/ Noble B. Coppage
                                                                                                                    of Debtor                                                                              Noble B. Coppage

                                                                   Date:                                            Signature
                                                                                                                    of Joint Debtor
                                                                                                                    (if any)

                                                                                                                                      0 continuation pages attached


                                                                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
                                                                                         Case 15-50743                               Doc 6                Filed 11/17/15 Entered 11/17/15 11:18:14                                                                          Desc Main
                                                                                                                                                           Document     Page 20 of 33
                                                                                                                                           United States Bankruptcy Court
                                                                                                                                 Western District of North Carolina, Wilkesboro Division

                                                                   IN RE:                                                                                                                                                                     Case No. 5:15-bk-50743
                                                                   Coppage, Noble B.                                                                                                                                                          Chapter 13
                                                                                                                                                Debtor(s)

                                                                                                                DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                   1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
                                                                          one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
                                                                          of or in connection with the bankruptcy case is as follows:

                                                                          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               3,900.00

                                                                          Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                    500.00

                                                                          Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $   3,400.00

                                                                   2.     The source of the compensation paid to me was:                                 Debtor             Other (specify):

                                                                   3.     The source of compensation to be paid to me is:                                Debtor             Other (specify):

                                                                   4.            I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                                                                                 I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
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                                                                                 together with a list of the names of the people sharing in the compensation, is attached.

                                                                   5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                          a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                          b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                                                          c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                          d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                                                                          e.     [Other provisions as needed]




                                                                   6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:




                                                                                                                                                                                  CERTIFICATION
                                                                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                                                        proceeding.


                                                                                              November 17, 2015                                                   /s/ Roderick Willcox
                                                                                                             Date                                                 Roderick Willcox 25033
                                                                                                                                                                  Willcox Law Firm, PLLC
                                                                                                                                                                  PO Box 442
                                                                                                                                                                  Morganton, NC 28680

                                                                                                                                                                  rwillcox@willcoxlawfirm.com
                                                                                       Case 15-50743             Doc 6         Filed 11/17/15 Entered 11/17/15 11:18:14                          Desc Main
                                                                                                                                Document     Page 21 of 33

                                                                     Fill in this information to identify your case:                                                               Check as directed in lines 17 and 21:
                                                                                                                                                                                   According to the calculations required by
                                                                     Debtor 1          Noble B. Coppage
                                                                                       __________________________________________________________________                          this Statement:
                                                                                          First Name             Middle Name               Last Name

                                                                     Debtor 2             ________________________________________________________________                              1. Disposable income is not determined
                                                                     (Spouse, if fil ing) First Name             Middle Name               Last Name                                       under 11 U .S.C. § 1325(b)(3).

                                                                     United S tates Bankruptcy Court for the: Western District of North Carolina, Wilkesboro Division                   2. Disposable income is determined
                                                                                                                                                                                           under 11 U .S.C. § 1325(b)(3).
                                                                     Case number          5:15-bk-50743
                                                                                          ___________________________________________
                                                                     (If known)                                                                                                         3. The commitment period is 3 years .
                                                                                                                                                                                        4. The commitment period is 5 years.

                                                                                                                                                                                        Check if this is an amended filing

                                                                   Official Form 22C–1
                                                                   Chapter 13 Statement of Your Current Monthly Income
                                                                   and Calculation of Commitment Period                                                                                                             12/14

                                                                   Be as complete and accurate as p ossible. If two married people are filing together, both are equally responsible for being accurate. If
                                                                   more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
                                                                   top of any additional pages, write your name and case number (i f known).
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                                                                   Part 1:          Calculate Your Average Monthly Income

                                                                   1. What is your marital and filing status? Check one only.
                                                                            Not married. Fill out Column A, lines 2-11.
                                                                             Married. Fill out both Columns A and B, lines 2-11.

                                                                      Fill in the average monthly income that you received fr om all sources, derived during the 6 ful l months before you file this
                                                                      bankruptcy case. 11 U.S.C. § 101(10A). For exam ple, if you are filing on September 15, the 6-month period would be March 1 through
                                                                      August 31. If t he amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. F ill in
                                                                      the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
                                                                      from that property i n one column only. If you have nothi ng to report for any line, write $0 in the space.

                                                                                                                                                                        Column A            Column B
                                                                                                                                                                        Debtor 1            Debto r 2 or
                                                                                                                                                                                            non -filing spouse

                                                                   2. Your gross w ages, salary, tips, bonuses, overti me, and com missions (before all
                                                                      payrol l deductions ).                                                                            $____________
                                                                                                                                                                             3,600.00          $__________
                                                                                                                                                                                                      0.00
                                                                   3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                      Column B is filled in.                                                                                     0.00
                                                                                                                                                                        $____________          $__________
                                                                                                                                                                                                      0.00
                                                                   4. All amounts from any source which are r egular ly paid for household expenses of
                                                                      you or your dependents, including child support. Include regular contributions from
                                                                      an unmarried partner, members of your household, your dependents, parents , and
                                                                      roommates. Include regular contributions from a spouse only if Column B is not filled
                                                                      in. Do not include payments you listed on line 3.                                                 $___________
                                                                                                                                                                                0.00                  0.00
                                                                                                                                                                                               $__________

                                                                   5. Net income from operating a b usiness, profession, or farm

                                                                      Gross receipts (before all deductions)                                         0.00
                                                                                                                                            $____________

                                                                      Ordinary and necessary operating expenses                          – $____________
                                                                                                                                                    0.00

                                                                                                                                                                 Copy
                                                                      Net monthly income from a business, profession, or farm                       0.00
                                                                                                                                           $____________                         0.00
                                                                                                                                                                        $____________                0.00
                                                                                                                                                                                               $_________
                                                                                                                                                                 here


                                                                   6. Net income from rental and other real property
                                                                      Gross receipts (before all deductions)                                       0.00
                                                                                                                                          $____________

                                                                      Ordinary and necessary operating expenses                         – $_____________
                                                                                                                                                   0.00
                                                                                                                                                                 Copy
                                                                      Net monthly income from rental or other real property                        0.00
                                                                                                                                          $____________
                                                                                                                                                                 here   $____________
                                                                                                                                                                                 0.00                0.00
                                                                                                                                                                                              $__________

                                                                    Official Form 22C–1                Chapter 13 Statement of Your Curr ent Monthly Income and Calculation of Commitment Period                          page 1
                                                                                        Case 15-50743                            Doc 6
                                                                                                                             Filed 11/17/15 Entered 11/17/15 11:18:14 Desc Main
                                                                    Debtor 1             Noble B. Coppage                      Document
                                                                                         _______________________________________________________ Page 22 ofCase
                                                                                                                                                            33number (if known)_____________________________________
                                                                                                                                                                               5:15-bk-50743
                                                                                         First Name          Middle Nam e                 Last Name



                                                                                                                                                                                                             Column A                             Column B
                                                                                                                                                                                                             Debtor 1                             Deb tor 2 or
                                                                                                                                                                                                                                                  n on- filing spouse

                                                                   7. Interest, dividends, and royalties                                                                                                                0.00
                                                                                                                                                                                                               $____________                                0.00
                                                                                                                                                                                                                                                     $__________

                                                                   8. Unemployment compensation                                                                                                                         0.00
                                                                                                                                                                                                               $____________                                0.00
                                                                                                                                                                                                                                                     $__________

                                                                        Do not enter the amount if you contend that the amount received was a benefit under
                                                                        the Social Security Act. Instead, list it here: .... ..............................

                                                                           For you .......................................................................                     0.00
                                                                                                                                                                     $_____________
                                                                           For your spouse .........................................................                 $_____________
                                                                                                                                                                               0.00

                                                                   9. Pension or retirem ent income. Do not include any amount received that was a
                                                                        benefit under the Social Security Act.                                                                                                          0.00
                                                                                                                                                                                                               $____________                         $__________
                                                                                                                                                                                                                                                            0.00

                                                                   10. Income from all other sources not listed above. Specify the source and amount.
                                                                        Do not include any benefits received under the Social Security Act or payments
                                                                        received as a victim of a war crime, a crime against humanity , or international or
                                                                        domestic terrorism. If necess ary, list other s ources on a s eparate page and put the
                                                                        total on l ine 10c.
                                                                                                                                                                                                               $_____________                       $___________
                                                                          10a. __________________________________________________________________
                                                                                                                                                                                                               $_____________                       $___________
                                                                          10b. __________________________________________________________________
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                                                                          10c. Total amounts from separate pages, if any.                                                                                  + $____________
                                                                                                                                                                                                                      0.00                       + $__________
                                                                                                                                                                                                                                                          0.00

                                                                   11. Calculate your total average monthly income. Add lines 2 through 10 for each
                                                                        col umn. Then add the total f or Column A to the total for Column B.                                                                        3,600.00
                                                                                                                                                                                                               $____________                +               0.00
                                                                                                                                                                                                                                                    $___________            =    3,600.00
                                                                                                                                                                                                                                                                                $________
                                                                                                                                                                                                                                                                                Total average
                                                                                                                                                                                                                                                                                m onthly income




                                                                   Part 2:            Determine How to Measure Your Deductions from Income

                                                                   12. Copy your total average monthly income from line 11. ..........................................................................................................................
                                                                                                                                                                                                                                                                            $_____________
                                                                                                                                                                                                                                                                                  3,600.00
                                                                   13. Calculate the marital adjustment. Check one:

                                                                             You are not married. Fill in 0 in line 13d.
                                                                             You are married and your spouse is filing with you. Fill in 0 in line 13d.
                                                                             You are married and your spouse is not filing with you.
                                                                             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you
                                                                             or your dependents, such as payment of t he spouse’s tax liability or the spouse’s support of someone other than you or
                                                                             your dependents.
                                                                              In lines 13a-c, specify the basis for excluding this i ncome and t he amount of income devoted to each purpose. If
                                                                              necessar y, list additional adjustments on a s eparate page.

                                                                              If this adjustment does not apply, enter 0 on line 13d.

                                                                              13a. _______________________________________________________________________                                                         $___________
                                                                              13b. _______________________________________________________________________                                                         $___________
                                                                              13c. _______________________________________________________________________                                                      + $___________
                                                                              13d. Total .............................................................................................................                     0.00
                                                                                                                                                                                                                   $___________                 Copy here.          13d .           0.00
                                                                                                                                                                                                                                                                            ____________


                                                                   14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                 14.          3,600.00
                                                                                                                                                                                                                                                                             $ __________


                                                                   15. Calculate your current monthly income for the year. Follow these steps:

                                                                        15a. Copy line 14 here                ..................................................................................................................................................... 15a.          3,600.00
                                                                                                                                                                                                                                                                            $ ____________

                                                                                Multiply line 15a by 12 (the number of months i n a year).                                                                                                                                  x 12
                                                                        15b. The result is your c urrent monthl y income for the year for this part of the form.                                                                                                  15b.
                                                                                                                                                                                                                                                                              43,200.00
                                                                                                                                                                                                                                                                            $___________


                                                                    Official Form 22C–1                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                               page 2
                                                                                        Case 15-50743                          Doc 6              Filed 11/17/15                    Entered 11/17/15 11:18:14 Desc Main
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                                                                                                                                                                                                                 5:15-bk-50743
                                                                                        First Name          Middle Nam e                Last Name




                                                                   16. Calculate the median family income that applies to you. Follow these steps:

                                                                        16a. Fill in the state in which you li ve.                                             _________
                                                                                                                                                               North Carolina

                                                                        16b. Fill in the number of people in your household.                                   _________
                                                                                                                                                                 1

                                                                        16c. Fill in the median f amily income for your state and size of household. ............................................................................ 16c.
                                                                                                                                                                                                                                                                        41,541.00
                                                                                                                                                                                                                                                                     $___________
                                                                                To find a list of applicable median income amounts, go online using the link specified in the separate
                                                                                instructions for this form. This list may also be available at the bankruptcy clerk’s office.

                                                                   17. How do the lines compare?

                                                                        17a.         Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C.
                                                                                     § 1325(b) (3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C–2).

                                                                        17b.         Line 15b is more t han line 16c. On the top of page 1 of this form, check box 2, Dis posable income is de termined under 11 U.S.C.
                                                                                     § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C–2). On line 39 of that form, copy
                                                                                     your current monthly income from line 14 above.

                                                                   Part 3:             Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


                                                                   18. Copy your total average monthly income from line 11. .......................................................................................................................... 18.
                                                                                                                                                                                                                                                                        3,600.00
                                                                                                                                                                                                                                                                     $____ ______
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                                                                   19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
                                                                        that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s
                                                                        income, copy the amount from line 13d.
                                                                        If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                    19a.            0.00
                                                                                                                                                                                                                                                                     $__________

                                                                        Subtract line 19a from line 18.                                                                                                                                                     19b.
                                                                                                                                                                                                                                                                        3,600.00
                                                                                                                                                                                                                                                                     $__________

                                                                   20. Calculate your current monthly income for the year. Follow these steps:


                                                                        20a. Copy line 19b.. ............................................................................................................................................................... 20a.
                                                                                                                                                                                                                                                                         3,600.00
                                                                                                                                                                                                                                                                     $___________

                                                                                Multiply by 12 (the number of months in a year).                                                                                                                                    x 12
                                                                        20b . The result is your current monthly income for the year for this part of the form.                                                                                            20b.         43,200.00
                                                                                                                                                                                                                                                                     $___________


                                                                        20c. Copy the median family income for your state and size of household from line 16c. .... ....................................................
                                                                                                                                                                                                                                                                     $___________
                                                                                                                                                                                                                                                                        41,541.00

                                                                   21. How do the lines compare?

                                                                             Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is
                                                                             3 years. Go to Part 4.
                                                                             Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
                                                                             check box 4, The commitment period is 5 years . Go to Part 4.


                                                                    Part 4:           Sign Below

                                                                           By signing here, under penalty of perjur y I declare that the i nformation on this st atement and in any attachments is true and correct.

                                                                                 ___________________________________________________
                                                                                /s/ Noble B. Coppage                                                                                   ____________________________________
                                                                                 Signatur e of Debtor 1                                                                                Signature of Debtor 2


                                                                                Date _________________
                                                                                     November 17, 2015                                                                                 Date _________________
                                                                                       MM / DD         / YYYY                                                                                  MM / DD         / YYYY



                                                                           If you checked 17a, do N OT fill out or file Form 22C–2.
                                                                           If you checked 17b, fill out Form 22C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




                                                                    Official Form 22C–1                         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                      page 3
                                                                                      Case 15-50743               Doc 6         Filed 11/17/15 Entered 11/17/15 11:18:14                        Desc Main
                                                                                                                                 Document     Page 24 of 33
                                                                    Fill in this information to identify your case:

                                                                    Debtor 1          Noble B. Coppage
                                                                                      ____________ _______________ ______________________________ _________
                                                                                         First Name               Middle Name             Last Name

                                                                    Debtor 2             ___________________________ _______________ ______________________
                                                                    (Spo use, if filing) First Name               Middle Name             Last Name


                                                                    United States Bankruptcy Court for the: Western       District of North Carolina, Wilkesboro Division
                                                                    Case number         5:15-bk-50743
                                                                                        ___________________________ _______________ _
                                                                    (If known)

                                                                                                                                                                                      Check if this is an amended filing



                                                                   Official Form 22C–2
                                                                   Chapter 13 Calculation of Your Disposable Income                                                                                               12/14

                                                                   To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
                                                                   Commitment Period (Official Form 22C–1).
                                                                   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
                                                                   more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
                                                                   top of any additional pages, write your name and case number (if known).
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                                                                   Part 1:          Calculate Your Deductions from Your Income



                                                                       The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
                                                                       answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
                                                                       this form. This information may also be available at the bankruptcy clerk’s office.

                                                                      Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some
                                                                      of your actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from
                                                                      income in lines 5 and 6 of Form 22C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13
                                                                      of Form 22C–1.

                                                                      If your expenses differ from month to month, enter the average expense.

                                                                      Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




                                                                       5.    The number of people used in determining your deductions from income
                                                                             Fill in the number of people who could be claimed as exemptions on your federal income tax return,
                                                                             plus the number of any additional dependents whom you support. This number may be different                              1
                                                                             from the number of people in your household.



                                                                        National Standards            You must use the IRS National Standards to answer the questions in lines 6-7.



                                                                       6.   Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
                                                                            Standards, fill in the dollar amount for food, clothing, and other items.                                                        585.00
                                                                                                                                                                                                           $________



                                                                       7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
                                                                            fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories people who are
                                                                            under 65 and people who are 65 or older because older people have a higher IRS allowance for health care costs. If your
                                                                            actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.




                                                                   Official Form 22C 2                                     Chapter 13 Calculation of Your Disposable Income                                            page 1
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                                                                              People who are under 65 years of age

                                                                                                                                           60.00
                                                                              7a. Out-of-pocket health care allowance per person $______________

                                                                              7b. Number of people who are under 65                                             1
                                                                                                                                                         X ______
                                                                                                                                                                                        Cop y lin e
                                                                              7c. Subtotal. Multiply line 7a by line 7b.                                           60.00
                                                                                                                                                         $______________
                                                                                                                                                                                        7c here
                                                                                                                                                                                                             60.00
                                                                                                                                                                                                      $___________


                                                                               People who are 65 years of age or older

                                                                                                                                         144.00
                                                                              7d. Out-of-pocket health care allowance per person $______________

                                                                              7e. Number of people who are 65 or older                                          0
                                                                                                                                                         X ______
                                                                                                                                                                                        Cop y lin e
                                                                              7f. Subtotal. Multiply line 7d by line 7e.                                 $______________
                                                                                                                                                                    0.00                7f here
                                                                                                                                                                                                      +          0.00
                                                                                                                                                                                                          $__________

                                                                                                                                                                                                                          Cop y total
                                                                         7g. Total. Add lines 7c and 7f. .... ................................ ....................................................          60.00
                                                                                                                                                                                                      $___________                                    60.00
                                                                                                                                                                                                                                                  $________
                                                                                                                                                                                                                          here    ......... 7g.

                                                                     Local
                                                                                            You must use the IRS Loc al Standards to answer the questions in lines 8-15.
                                                                     Standards
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                                                                     Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy purposes
                                                                     into two parts:
                                                                        Housing and utilities – Insurance and operating expenses
                                                                        Housing and utilities – Mortgage or rent expenses

                                                                     To answer the questions in lines 8-9, use the U.S. Tr ustee Program chart. To find the chart, go online using the link
                                                                     specified in the separate inst ructions for this form. This chart may also be available at the bankruptcy clerk’s office.

                                                                     8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in
                                                                         the dollar amount listed for your county for insurance and operating expenses.                                                                                           $_______
                                                                                                                                                                                                                                                    397.00

                                                                     9. Housing and utilities – Mortgage or rent expenses:

                                                                              9a. Using the number of people you entered in line 5, fill in the dollar amount
                                                                                    listed for your county for mortgage or rent expenses.                                                                 630.00
                                                                                                                                                                                                      $__________

                                                                              9b. Total average monthly payment for all mortgages and other debts sec ured by
                                                                                   your home.
                                                                                    To calculate the total aver age monthly payment, add all amounts that are
                                                                                    contractually due to each secured creditor in the 60 months after you file for
                                                                                    bankruptcy. Next divide by 60.

                                                                                  Name of the creditor                                                   Averag e m onthly
                                                                                                                                                         payment


                                                                               Suntrust Mortgage,____________________
                                                                               __________________ Inc.                                                         979.66
                                                                                                                                                          $__________
                                                                               __________________ ____________________                                    $__________

                                                                               __________________ ____________________
                                                                                                                                                     +    $__________
                                                                                                                                                                                     Copy line                             Repeat this amount
                                                                              9b.Total average monthly payment ........................                        979.66
                                                                                                                                                          $__________                                     $____________
                                                                                                                                                                                                                979.66     on line 33a.
                                                                                                                                                                                     9b here

                                                                        9c. Net mortgage or rent expense.
                                                                              Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent                                         $____________       Co py 9c here           $________
                                                                              expense). If this number is less than $0, enter $0.
                                                                                                                                                                                                               0.00                                    0.00

                                                                     10. If you claim that the U.S. Tr ustee Program’s division of the IRS Local Standard for housing is incorrect and affects
                                                                                                                                                                                                                                                       0.00
                                                                                                                                                                                                                                                  $________
                                                                         the calculation of your monthly expenses, fill in any additional amount you claim.
                                                                              Explain why:       ________________________________________________________________
                                                                                                 ________________________________________________________________



                                                                   Official Form 22C 2                                             Chapter 13 Calculation of Your Disposable Income                                                                          page 2
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                                                                     11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

                                                                                      0. Go to line 14.
                                                                                      1. Go to line 12.
                                                                                      2 or more. Go to line 12.


                                                                     12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
                                                                         expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                          0.00
                                                                                                                                                                                                                        $_______


                                                                     13. Vehicle ownership or lease expense: Using the IRS Local Standards, calcul ate the net ownershi p or lease expense for each
                                                                         vehicle below. You may not claim the expense if you do not make any loan or l ease payments on the vehicle. In addition, you
                                                                         may not claim the expense for more than two vehicles.


                                                                              Vehicle 1           Descr ibe         _______________________________________________________________________
                                                                                                  Vehicle 1:
                                                                                                                    _______________________________________________________________________


                                                                              13a. Ownership or leasing costs using IRS Local Standard
                                                                                                                                                                      13a.
                                                                                                                                                                                         0.00
                                                                                                                                                                                $____________

                                                                              13b. Average monthly payment for all debts sec ured by Vehic le 1.
                                                                                       Do not include costs for leased vehicles.
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                                                                                       To calculate the aver age monthly payment here and on line 13e,
                                                                                       add all amounts that are cont ractually due to each secured
                                                                                       creditor in the 60 months after you file for bankruptcy. Then
                                                                                       divide by 60.
                                                                                     Name of each creditor fo r Vehicle 1               Average m onthly
                                                                                                                                        payment

                                                                                                                                                           Cop y13b                             Repeat this amount
                                                                                                                            0.00
                                                                                _________________________________ $_____________                           here
                                                                                                                                                                                        0.00
                                                                                                                                                                                $___________    on line 33b.




                                                                              13c. Net Vehic le 1 ownership or lease expense                                                                      Cop y net Vehicle 1
                                                                                       Subtract line 13b from line 13a. If this number is less than $0, enter $0. 13c.                  0.00
                                                                                                                                                                                $___________      expense here              0.00
                                                                                                                                                                                                                        $_______




                                                                              Vehicle 2           Descr ibe         _______________________________________________________________________
                                                                                                  Vehicle 2:
                                                                                                                    ________________________________________________________________________


                                                                              13d. Ownership or leasing costs using IRS Local Standard                                13d.              0.00
                                                                                                                                                                                $___________

                                                                              13e. Average monthly payment for all debts secured by Vehicle 2.
                                                                                       Do not include costs for leased vehicles.

                                                                                 Name of each credito r f or Vehicle 2                  Average m onthly
                                                                                                                                        payment


                                                                                                                            0.00                                                                Repeat this amount
                                                                                _________________________________ $_____________                           Cop y h ere                  0.00
                                                                                                                                                                                $___________    on line 33c.



                                                                              13f.     Net Vehic le 2 ownership or lease expense                                                                  Cop y net Vehicle 2
                                                                                       Subtract line 13e from 13d. If this number is less than $0, enter $0.             13f.
                                                                                                                                                                                       0.00
                                                                                                                                                                                $__________
                                                                                                                                                                                                  expense here
                                                                                                                                                                                                                            0.00
                                                                                                                                                                                                                        $_______



                                                                     14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
                                                                         Transportation expense allowance regardless of whether you use public transportation.                                                            185.00
                                                                                                                                                                                                                        $_______

                                                                     15. Addi tional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
                                                                         deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
                                                                         more than the IRS Local Standard for Public T ransportation.                                                                                       0.00
                                                                                                                                                                                                                        $_______



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                                                                     Other Necessary                  In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                                                     Expenses                         following IRS categories .

                                                                     16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-
                                                                         employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
                                                                         your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12                                                  680.40
                                                                                                                                                                                                                                            $_______
                                                                         and subtract that number from the total monthly amount that is withheld to pay for taxes.
                                                                         Do not include real estate, sales, or use taxes.

                                                                     17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement cont ributions,
                                                                         union dues, and uniform costs.
                                                                         Do not include amounts that are not required by your job, suc h as voluntary 401(k) cont ributions or payroll savings.                                                 0.00
                                                                                                                                                                                                                                            $_______

                                                                     18. Life insur ance: The total monthly premiums that you pay for your own term lif e insurance. If two married people are filing
                                                                         together, i nclude payments that you make for your spouse’s term life insurance.
                                                                         Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life
                                                                         insurance other than term.                                                                                                                                             0.00
                                                                                                                                                                                                                                            $_______

                                                                     19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
                                                                         agency, such as spousal or child support payments.                                                                                                                     0.00
                                                                                                                                                                                                                                            $_______
                                                                         Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

                                                                     20. Education: The total monthly amount that you pay for education that is either requi red:
                                                                              as a condition for your job, or                                                                                                                                   0.00
                                                                                                                                                                                                                                            $_______
                                                                              for your physically or mentally challenged dependent child if no public education is available for similar services.
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                                                                     21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
                                                                         Do not include payments for any elementary or secondary school education.                                                                                              0.00
                                                                                                                                                                                                                                            $_______
                                                                     22. Additional health care expenses, excluding insur ance costs: The mont hly amount that you pay for health care that is
                                                                         requi red for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
                                                                         savings account. Include only the amount that is more than the total ent ered in line 7.
                                                                                                                                                                                                                                            $_______
                                                                                                                                                                                                                                                0.00
                                                                         Payments for health insurance or heal th savings accounts should be lis ted only in line 25.

                                                                     23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
                                                                         you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
                                                                         service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it
                                                                         is not reimbursed by your employer.                                                                                                                            +        0.00
                                                                                                                                                                                                                                            $________
                                                                         Do not include payments for basic home telephone, internet or cell phone ser vice. Do not include self-employment
                                                                         expenses, such as those reported on line 5 of Form 22C-1, or any amount you previously deducted.

                                                                     24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                   1,907.40
                                                                                                                                                                                                                                            $________
                                                                         Add lines 6 through 23.

                                                                     Additional Expense                     These are additional deductions allowed by the Means Test.
                                                                     Deductions                             Note: Do not include any expense allowances listed in lines 6-24.

                                                                     25. Heal th insurance, disability insurance, and health savings account expenses. The monthly expenses for health
                                                                         insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
                                                                         dependents.
                                                                               Health insurance                                           0.00
                                                                                                                                   $__________
                                                                               Disability insurance                                       0.00
                                                                                                                                   $__________
                                                                               Health savings account                                   0.00
                                                                                                                               + $__________
                                                                               Total                                                      0.00
                                                                                                                                   $__________     Copy total here   ................................ ...............................            0.00
                                                                                                                                                                                                                                            $________

                                                                               Do you actually spend this total amount?
                                                                               No. How much do you actually spend?
                                                                                                                                      0.00
                                                                                                                               $__________
                                                                               Yes

                                                                     26. Continuing contributions to the care of household or family members. The act ual monthly expenses that you will
                                                                         continue to pay f or the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your                                          0.00
                                                                                                                                                                                                                                            $_______
                                                                         household or member of your immediate family who is unable to pay for such expenses.

                                                                     27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
                                                                         you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.                                                            0.00
                                                                                                                                                                                                                                            $_______
                                                                         By law, the court must keep the nature of these expenses confidential.

                                                                   Official Form 22C 2                                  Chapter 13 Calculation of Your Disposable Income                                                                               page 4
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                                                                     28. Additional home energ y costs. Your home energy costs are included in your non-mortgage housing and utilities allowance
                                                                         on line 8.
                                                                         If you believe that you have home energy costs that are more than the home energy costs included in the non-mortgage                                                  0.00
                                                                                                                                                                                                                                           $_______
                                                                         housing and utilities allowance, t hen fill in the excess amount of home energy costs.
                                                                         You must give your case trustee document ation of your act ual expenses, and you must show that the additional amount
                                                                         claimed is reasonable and necessary.

                                                                     29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $156.25*
                                                                         per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
                                                                                                                                                                                                                                               0.00
                                                                                                                                                                                                                                           $_______
                                                                         elementary or secondary school.
                                                                         You must give your case trustee document ation of your actual expenses, and you must explain why the amount c laimed is
                                                                         reasonable and necessary and not already accounted for in lines 6-23.
                                                                         * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.

                                                                     30. Additional food and cl othing expense. The monthly amount by whic h your actual food and clothing expenses are higher
                                                                                                                                                                                                                                           $_______
                                                                                                                                                                                                                                               0.00
                                                                         than the combined food and clothing allowances in t he IRS National Standards. That amount cannot be more than 5% of the
                                                                         food and clothing allowances in the IRS National Standards.
                                                                         To find a chart showing the maximum additional allowance, go online using the link specified in the separ ate
                                                                         instruc tions for this form. This chart may also be avai lable at the bankruptcy clerk’s office.
                                                                         You must show that the additional amount claimed is reasonable and necessary.


                                                                     31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cas h or financial
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                                                                         instruments to a religious or charitable organi zation. 11 U.S.C. § 548(d)3 and (4).                                                                          +   _________
                                                                                                                                                                                                                                                0.00
                                                                         Do not include any amount more than 15% of your gross monthly income.

                                                                     32. Add all of the additional expense deductions.                                                                                                                 $___________
                                                                                                                                                                                                                                               0.00
                                                                         Add lines 25 through 31.

                                                                     Deductions for Debt Paym ent

                                                                     33. For debts that are secured by an interest in property that you own, including home mortgages,
                                                                         vehicle loans, and other secured debt, fill in lines 33a through 33g.
                                                                         To calculate the total average monthly payment, add all amounts that are c ontractually due to each
                                                                         secured c reditor in the 60 months after you file for bankruptcy. Then divide by 60.



                                                                                                                                                                                                       Average mo nthly
                                                                                                                                                                                                       payment
                                                                              Mortgages o n your hom e

                                                                              33a. Copy line 9b here ............................................................................................             979.66
                                                                                                                                                                                                        $___________

                                                                              Loan s on your first two vehicles

                                                                              33b. Copy line 13b here. .........................................................................................                0.00
                                                                                                                                                                                                        $___________

                                                                              33c. Copy line 13e here. .........................................................................................        $____ _______
                                                                                                                                                                                                                 0.00

                                                                              Name of each credito r for other                       Identify property that secu res                  Does paym ent
                                                                              secured debt                                           the debt                                         include taxes
                                                                                                                                                                                      or insurance?

                                                                                                                                                                                             No              979.66
                                                                                                                                                                                                        $___________
                                                                              33d. ____________________________ Residence
                                                                                   Suntrust Mortgage, Inc. _____________________________                                                     Yes
                                                                                                                                                                                             No
                                                                                                                                                                                                        $___________
                                                                              33e. ____________________________ _____________________________                                                Yes
                                                                                                                                                                                             No
                                                                              33f. _____________________________ _____________________________
                                                                                                                                                                                                      + $___________
                                                                                                                                                                                             Yes
                                                                                                                                                                                                                          Copy total
                                                                              33g. Total average monthly payment. Add lines 33a through 33f. ......................................                          979.66
                                                                                                                                                                                                       $___________                          979.66
                                                                                                                                                                                                                                           $_______
                                                                                                                                                                                                                          here




                                                                   Official Form 22C 2                                             Chapter 13 Calculation of Your Disposable Income                                                                   page 5
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                                                                                                                      Filed 11/17/15 Entered 11/17/15 11:18:14 Desc Main
                                                                   Debtor 1       Noble B. Coppage
                                                                                                                        Document
                                                                                  _______________________________________________________
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                                                                                                                                                     33number (if known)_____________________________________
                                                                                                                                                                        5:15-bk-50743
                                                                                  First Name       Middle Nam e             Last Name




                                                                     34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for
                                                                         your support or the support of your dependents?


                                                                              No. Go to line 35.
                                                                              Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep possession of
                                                                                   your property (called the cure amount). Next, divide by 60 and fill in the information below.

                                                                                     Name of the cred itor                  Identify p roperty that             T otal cure                     Monthly cure am oun t
                                                                                                                            secures the debt                    amount


                                                                                     Suntrust Mortgage, Inc. Residence
                                                                                     __________________________ __________________                                26,809.20
                                                                                                                                                                $______ ____         ÷ 60 =           446.82
                                                                                                                                                                                                $___________


                                                                                     __________________________            __________________                   $__________          ÷ 60 =     $___________


                                                                                     __________________________            __________________                   $__________          ÷ 60 = + $___________
                                                                                                                                                                                                                        Copy
                                                                                                                                                                                     Total            446.82
                                                                                                                                                                                                $___________            total     446.82
                                                                                                                                                                                                                                $_______
                                                                                                                                                                                                                        here


                                                                     35. Do you owe any priority claims   such as a priority tax, child support, or alimony                              that are past due as of the
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                                                                         filing date of your bankruptcy case? 11 U.S.C. § 507.
                                                                              No. Go to line 36.
                                                                              Yes. Fill in the total amount of all of these priority claims. Do not include cur rent or ongoing
                                                                                   priority c laims, such as those you listed in line 19.

                                                                                    Total amount of all past-due priority claims. .................................... .....................          26,700.00
                                                                                                                                                                                                $______________         ÷ 60    $_______
                                                                                                                                                                                                                                  445.00


                                                                     36. Projected monthly Chapter 13 plan payment                                                                              $______________

                                                                        Current multiplier for your district as stated on the list issued by the Administrative Office
                                                                        of the United States Courts (for districts in Alabama and North Carolina) or by the
                                                                        Executive Office for United States Trustees (for all other district s).
                                                                                                                                                                                               x ______
                                                                        To find a list of district multipliers that includes your district, go online using the link specified
                                                                        in the separate instructions for this form. This list may also be available at the bankruptcy
                                                                        clerk’s office.
                                                                                                                                                                                                                        Copy
                                                                                                                                                                                                $______________         total   $_______
                                                                        Average monthly ad ministrative expense                                                                                                         here


                                                                     37. Add all of the deductions for debt payment. Add lines 33g through 36.
                                                                                                                                                                                                                                $_______
                                                                                                                                                                                                                                 1,871.48




                                                                     Total Deductions fr om Income

                                                                     38. Add all of the allowed deductions.


                                                                        Copy line 24, All of the expenses allowed under IRS expense allowances ........................                         $______________
                                                                                                                                                                                                       1,907.40

                                                                        Copy line 32, All of the additional expense deductions......................................................                       0.00
                                                                                                                                                                                                $______________

                                                                        Copy line 37, All of the deductions for debt payment.... .....................................................         + $______________
                                                                                                                                                                                                        1,871.48

                                                                                                                                                                                                                        Copy
                                                                        Total deductions                                                                                                               3,778.88
                                                                                                                                                                                                $______________         total   $_______
                                                                                                                                                                                                                                  3,778.88
                                                                                                                                                                                                                        here




                                                                   Official Form 22C 2                                       Chapter 13 Calculation of Your Disposable Income                                                                page 6
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                                                                    Debtor 1           Noble B. Coppage
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                                                                                                                                                                             5:15-bk-50743
                                                                                                                                                                                   ________________________________
                                                                                       First Name       Middle Nam e            Last Name


                                                                   Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

                                                                   39. Copy your total current monthly income from line 14 of Form 22C-1, Chapter 13                                                                                      $_______
                                                                                                                                                                                                                                            3,600.00
                                                                       Statement of Your Current Monthly Income and Calculation of Commitment Period. .............................................................................
                                                                   40. Fi ll in any r easonably necessar y income you receive for support for dependent children.
                                                                       The monthly average of any child support payments, fost er care payments, or disability
                                                                       payments for a dependent child, reported in Part I of Form 22C-1, that you recei ved in                                                 0.00
                                                                                                                                                                                                     $____ ________
                                                                       accordance with applicable nonbankruptcy law to the extent reasonably necess ary to be
                                                                       expended for such child.

                                                                   41. Fill in all q ualified retirement deductions. The monthly total of all amounts that your
                                                                       em ployer withheld from wages as cont ributions for qualified retirement plans, as specified
                                                                       in 11 U.S.C. § 541(b)(7) plus all requi red repayments of loans from retirement plans, as
                                                                                                                                                                                                               0.00
                                                                                                                                                                                                     $____ ________
                                                                       specified in 11 U.S.C. § 362(b)(19).


                                                                   42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here ..................                                3,778.88
                                                                                                                                                                                                      $____________


                                                                   43. Deduction for special circumstances. If special circumstances justify additional expenses
                                                                       and you have no reasonable alternative, describe the special circums tances and their
                                                                       expenses. You must give your case trustee a detai led explanation of the special
                                                                       circumstances and documentation for the expenses.

                                                                         Describe the special circum stances                                                 Amount of expense
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                                                                         43a. ______________________________________________________                           $___________

                                                                         43b. ______________________________________________________                           $___________
                                                                         43c. ______________________________________________________                        + $___________
                                                                                                                                                                                      Copy 43d
                                                                         43d. Total. Add lines 43a through 43c .....................................           $___________
                                                                                                                                                                       0.00           here         + $_____________
                                                                                                                                                                                                               0.00


                                                                                                                                                                                                                       Copy total
                                                                   44. Total adjustments. Add lines 40 and 43d. ...............................................................................       $_____________
                                                                                                                                                                                                            3,778.88   here           –   $______
                                                                                                                                                                                                                                           3,778.88




                                                                   45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                         -178.88
                                                                                                                                                                                                                                          $_______



                                                                     Part 3:            Change in Income or Expenses


                                                                    46. Change in income or expenses. If the income in Form 22C-1 or the expenses you reported in this form
                                                                         have changed or are virtually certain to change after the date you filed your bankruptcy petition and during
                                                                         the time your case will be open, fill in the information below. For example, if the wages report ed increased
                                                                         after you filed your petition, check 22C-1 in the first col umn, enter line 2 in the second column, explain why
                                                                         the wages increased, fill in when the increase occurred, and f ill in the amount of the increase.

                                                                          Form                  Line      Reason f or ch ange                                      Date of chang e            Increase o r    Am ount of change
                                                                                                                                                                                              decrease?

                                                                               22C                                                                                                                Increase
                                                                                                ____       _______________________________                        ____________                               $____________
                                                                               22C 2                                                                                                              Decrease


                                                                               22C                                                                                                                Increase   $____________
                                                                                                ____       _______________________________                        ____________
                                                                               22C 2                                                                                                              Decrease


                                                                               22C                                                                                                                Increase
                                                                                                ____       _______________________________                        ____________                               $____________
                                                                               22C 2                                                                                                              Decrease


                                                                               22C                                                                                                                Increase   $____________
                                                                                                ____       _______________________________                        ____________
                                                                               22C 2                                                                                                              Decrease




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                                                                   Debtor 1       Noble B. Coppage
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                                                                                                                                                                        5:15-bk-50743
                                                                                  First Name            Middle Nam e      Last Name




                                                                   Part 4:          Sign B elow



                                                                   By signing here, under penalt y of perjury you declare that the information on this s tatement and in any attachments is true and c orrect.



                                                                       _/s/ Noble B. Coppage
                                                                         __________________________________________________                         __________________________________
                                                                       Signature of Debtor 1                                                        Signature of Debtor 2


                                                                            November
                                                                       Date _____          17, 2015
                                                                                  ___ ___ ______                                                    Date _________________
                                                                              MM / DD          / YYYY                                                    MM / DD      / YYYY
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                                                                   FB 201A (Form 201A) (06/14)


                                                                                                       UNITED STATES BANKRUPTCY COURT

                                                                                                 NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                                                                                          OF THE BANKRUPTCY CODE

                                                                            In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                                                                   Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                   costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
                                                                   notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

                                                                           You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                   advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
                                                                   cannot give you legal advice.

                                                                            Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
                                                                   ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
                                                                   court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
                                                                   each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
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                                                                   receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
                                                                   statement with the court requesting that each spouse receive a separate copy of all notices.

                                                                   1. Services Available from Credit Counseling Agencies

                                                                           With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                   bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
                                                                   credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
                                                                   days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
                                                                   by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
                                                                   United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
                                                                   approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                                                           In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                                                                   management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                   financial management instructional courses. Each debtor in a joint case must complete the course.

                                                                   2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                            Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
                                                                            Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                   Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                                                                   should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                                                                   residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
                                                                   have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
                                                                   to decide whether the case should be dismissed.
                                                                            Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
                                                                   right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
                                                                   creditors.
                                                                            The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
                                                                   have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
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                                                                   Form B 201A, Notice to Consumer Debtor(s)                                                                                     Page 2

                                                                   discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                            Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
                                                                   may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                                                                   and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                                                                   which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
                                                                   motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
                                                                   from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
                                                                   that the debt is not discharged.

                                                                            Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                                                                   $75 administrative fee: Total fee $310)
                                                                            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
                                                                   installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
                                                                   set forth in the Bankruptcy Code.
                                                                            Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
                                                                   them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                                                                   depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                            After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                   obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
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                                                                   properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
                                                                   secured obligations.

                                                                            Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
                                                                            Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
                                                                   provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
                                                                   an attorney.

                                                                            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
                                                                            Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                   future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                   income arises primarily from a family-owned farm or commercial fishing operation.

                                                                   3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                            A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                                                                   perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                                                                   information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                                                                   acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                   employees of the Department of Justice.

                                                                   WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
                                                                   your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
                                                                   dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
                                                                   Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
                                                                   B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
